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                                                   IN THE DISTRICT COURT IN AND FOR
                                                   THE SOUTHERN DISTRICT OF FLORIDA
                                                   WEST PALM BEACH DIVISION

                                                   CASE NO. 9:11-cv-80361
  WILLIAM REASOR,

          Plaintiff,

  v.

  ASSIGNED CREDIT SOLUTIONS, INC.,
  a corporation, and CHRIS BRADBURY, an
  individual,

        Defendant.
  _____________________________________/

                           NOTICE OF DISMISSAL WITH PREJUDICE

          NOW COMES the Plaintiff, WILLIAM REASOR, by and through his attorneys,

  WEISBERG & MEYERS, LLC, and hereby provides notice of his dismissal of the above-captioned

  matter with prejudice. Plaintiff request that this Court retain jurisdiction over this claim solely for the

  purpose of enforcing the settlement agreement should either party fail to perform any obligations

  thereunder.



                                                                   ALEX D. WEISBERG
                                                                   WEISBERG & MEYERS, LLC
                                                                   ATTORNEYS FOR PLAINTIFF
                                                                   5722 S. Flamingo Road, Ste. 656
                                                                   Cooper City, FL 33330
                                                                   (954) 212-2184
                                                                   (866) 577-0963 fax


                                                                   By: /s/ Alex D. Weisberg_
                                                                      Alex D. Weisberg, Esq.
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                                    CERTIFICATE OF FILING

         I certify that on November 4th, 2011, I electronically filed the foregoing Motion with the clerk

  of the U.S. District Court using the electronic case filing system of the court.

                             CERTIFICATE OF SERVICE BY MAIL

         I, Alex D. Weisberg, certify that a true and correct copy of the foregoing was served upon Mr.

  Brian W. Donnelly, Donnelly Ritigstein Law Offices, 135 Kings Highway East, Suite 105,

  Haddonfield, NJ 08033 and Mr. Robert Arleo, 164 Sunset Park Road, Haines Falls, NY 12436 by

  depositing the same on November 4th, 2011, in the U.S. Mail, enclosed in an envelope with first class

  postage prepaid thereon.




                                                      By: s/ Alex Weisberg______

                                                     ALEX D. WEISBERG
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